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&lt;div&gt;23CA0744 Peo v McGee 10-10-2024 &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;COLORADO COURT OF APPEALS &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
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&lt;div&gt;Court of Appeals No. 23CA0744 &lt;/div&gt;
&lt;div&gt;Arapahoe County District Court No. 05CR356 &lt;/div&gt;
&lt;div&gt;Honorable Shay &lt;span&gt;K. Whitaker&lt;/span&gt;, Judge &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;The People of the State of Colorado, &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Plaintiff-Appellee, &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;v. &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Kenneth Louis McGee&lt;span&gt;, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Defendant-Appellant. &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;ORDER AFFIRMED &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Division III &lt;/div&gt;
&lt;div&gt;Opinion by JUDGE DUNN &lt;/div&gt;
&lt;div&gt;Navarro and &lt;span&gt;Richman*&lt;/span&gt;, JJ., concur &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;NOT PUBLISHED PURSUANT TO C.A.R. 35(e) &lt;/div&gt;
&lt;div&gt;Announced October 10, 2024 &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Philip J. Weiser, Attorney General, Allison S. Block, Assistant Attorney General &lt;/div&gt;
&lt;div&gt;Fellow, Denver, Colorado, for Plaintiff-Appellee &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Kenneth Louis McGee, Pro Se&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;*Sitting by assignment of the Chief Justice under provisions of Colo. Const. &lt;span&gt;art. &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;VI, Â§ 5(3), and Â§ 24-51-1105, C.R.S. 2024. &lt;/div&gt;
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&lt;div&gt;1 &lt;/div&gt;
&lt;div&gt;Â¶ 1&lt;span&gt; &lt;/span&gt;&lt;span&gt;Defendant, Kenneth Louis McGee, appeals the order denying &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;his most recent postconviction motion.&lt;span&gt;  &lt;/span&gt;We affirm.&lt;span&gt;  &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;I.&lt;span&gt; &lt;span&gt;Background &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 2&lt;span&gt; &lt;/span&gt;&lt;span&gt;A jury convicted McGee of distributi&lt;span&gt;ng&lt;/span&gt; a schedule II controlled &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;substance, a class 3 felony.&lt;span&gt;  &lt;/span&gt;The trial court adjudicated him &lt;span&gt;a &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;habitual criminal and sentenced him to sixty-four years in prison.&lt;span&gt;  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;A division of this court affirmed.  &lt;span&gt;People v. McGee&lt;/span&gt;, (Colo. App. N&lt;span&gt;&lt;/span&gt;o. &lt;/div&gt;
&lt;div&gt;08CA0074, Oct. 11, 2012) (not published pursuant to C.A.R.&lt;span&gt;&lt;/span&gt; 35(f)) &lt;/div&gt;
&lt;div&gt;(&lt;span&gt;McGee I&lt;/span&gt;&lt;span&gt;).&lt;span&gt;  &lt;span&gt; &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 3&lt;span&gt; &lt;/span&gt;&lt;span&gt;In 2013, the legislature enacted Senate Bill 13-250, which &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;reclassified certain felony drug offenses and reduced their penalties. &lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;See&lt;span&gt; Ch. 333, 2013 Colo. Sess. Laws 1900-&lt;span&gt;44.&lt;/span&gt;&lt;span&gt;  &lt;/span&gt;The bill expressly &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;applied prospectively.&lt;span&gt;  &lt;/span&gt;Sec. &lt;span&gt;71&lt;/span&gt;, 2013 Colo. Sess. Laws at 1943.&lt;span&gt;  &lt;/span&gt;&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 4&lt;span&gt; &lt;/span&gt;&lt;span&gt;In March 2014, McGee filed a pro se Crim. P. 35(c) motion, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;asserting multiple postconviction claims.&lt;span&gt;  &lt;/span&gt;As relevant here, he &lt;/div&gt;
&lt;div&gt;argued that trial counsel was ineffective for failing &lt;span&gt;âto prepare or &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;request that a proportionality review be completed.&lt;span&gt;â&lt;/span&gt;&lt;span&gt;  &lt;/span&gt;He also &lt;/div&gt;
&lt;div&gt;claimed that &lt;span&gt;his sentence âconstitute&lt;/span&gt;[d] cruel and unusual &lt;/div&gt;
&lt;div&gt;punishmentâ and requested a proportionality review becau&lt;span&gt;&lt;/span&gt;se his &lt;/div&gt;
&lt;div&gt;sentence is âdisproportionate to the seriousness of theâ cha&lt;span&gt;&lt;/span&gt;rged &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
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&lt;img alt="" src="https://icbg.s3.amazonaws.com/media/MM9/Zgu/MM9ZguMTW/pwsU7Hj38Z0aT83wGmUtrM/47S7PRRijEBs%3D?AWSAccessKeyId=ASIA5PHC3MTPY7NUW62H&amp;amp;Expires=1728781377&amp;amp;Signature=DGCq9lE42OZM2Ye7bTOStrW1Mq4%3D&amp;amp;x-amz-security-token=IQoJb3JpZ2luX2VjEFgaCXVzLWVhc3QtMSJHMEUCIQDvNqY1mbH6gAKLosnmnl9XJKEZLFr%2BAsyw4jz1Rs4t4AIgKTJcIDLGXJAMuHt6XMkqSlQLMfidQkQE%2FAh6Lpupo%2BYquwUIsf%2F%2F%2F%2F%2F%2F%2F%2F%2F%2FARAAGgw5MjYwNDEyMDM5MzUiDCSmlodST2BTXs76TCqPBWRmLI3PwiskhQRB%2Ff8J494coDe2octHEA4TNCLlynuUvXLEMVBobzVIg0nHDfZlguNoyY%2Bc9dXvCXVvlJ%2BMUxpvmFNyMhtDeCYMQ9Y3eqzzrvGsA1MF53Z5%2FtElgt4nOo7pJ6f29zc7UTpOZcxdxKvJB%2FDDAci3UUzVQkeOGXDv4pAW9mpsgKwiQw9iLqb9N0z0CPHmMj2%2FMdFDLKPhuG1QSR1TlxLDjm1jo8HpfE%2BxDN65IYr8VvEaYEo36Du5VcEG8Z39aRiC%2FOWz0d0h6%2B9BHfUPMlk%2B9Psx6hbkpAnks4lRpMrw%2FvVsNortX%2BznA4gOl19tm3K9j7CyrVwpI0ynlt2oohJCGg94%2BQOnDeF5Be7fC9SbV4yOfUZSsdginkdPNr4Kb%2FeG9FtLkC%2FDAW4N4He9dTHiF5N7W8wTNxKqmJ3%2F2iU0KMwd%2Btz3fpQc6j69x2a8prs%2F8vL0wDQkC6b%2B5Luoac55%2BYL%2BY99XswGH9J40ATSy5bNmcDLeJAOnv%2BzVQICDyd%2FqCgZzSu0Vy9N01g8ygLziSHcEXbekx%2B4afGrregFAF5BdQmmrBamXZXyBH%2FwHs2SUNpe%2F%2FoBkUCfXuTA03kcuTvfnSMOiNdiHDa3avCo3xTnsfAlkDRNal660zcLMdkiJPnS31uAYCaf4jjknEL0fayEiaGREVC68%2Bj2ZPNspSJF7LJSr8VZXx6L4twegRerZgrPLTBDdV8EHRJhu86d41AwFcHxvN0PzjvymGGTmwjbIVtHATlwFp2npv%2Bm5W4vI%2Fec2Z8%2BNbsLy55jy%2FsTu02PGipdcolbPAGINDcWXis59mZuj6FdBsZ5Z1zCAep6U8rWCc5OVZFzlmkJ8x%2BeqVyw%2FGSJfjMUw%2BoysuAY6sQFYU4fLNl2nfAy6oQRPx%2Fd5BzpOO9KF2Bb3k3l8S8tVWCKdyPjs0UvLHippixJYg3HnTPxwastzELvNDQZg0Fs5Dw72P%2FXCDus%2B2G1oHtELhE1jTb7mpIiipez%2FaXF4giThnuW2DxYfGg409st%2BHsHSHadHkoDPhDgyrieJAItw2XvZBgGim3kM2p9K8kApjhPOrfnNaNNk3NiFpKqg9RkTKZIkbthE05sQNJ60IV5lLZM%3D"&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;2 &lt;/div&gt;
&lt;div&gt;offense.  After appointment of counsel, supplemental motion&lt;span&gt;&lt;/span&gt;s, and &lt;/div&gt;
&lt;div&gt;a hearing, the postconviction court denied the motion.&lt;span&gt;  &lt;/span&gt;In doing so, &lt;/div&gt;
&lt;div&gt;the court considered the 2013 legislation, conducted an abbreviate&lt;span&gt;&lt;/span&gt;d &lt;/div&gt;
&lt;div&gt;proportionality review, and found the habitual sentence &lt;span&gt;âis &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;proportional to the grave and &lt;span&gt;serious nature ofâ McGeeâs crimes&lt;/span&gt;.&lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;1&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt;  &lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 5&lt;span&gt; &lt;/span&gt;&lt;span&gt;McGee appealed but did not reassert his claim that trial &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;counsel was ineffective for failing to seek a proportionality &lt;span&gt;&lt;/span&gt;review&lt;span&gt;, &lt;span&gt;or&lt;/span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;that his sentence constituted cruel and unusual punishment.  Nor &lt;/div&gt;
&lt;div&gt;did he appeal the &lt;span&gt;courtâs &lt;/span&gt;proportionality finding.  A division of this &lt;/div&gt;
&lt;div&gt;court affirmed the denial of the Rule &lt;span&gt;35&lt;/span&gt;(c) motion and conclu&lt;span&gt;&lt;/span&gt;ded &lt;/div&gt;
&lt;div&gt;that McGee abandoned the claims raised before the &lt;span&gt;&lt;/span&gt;postconviction &lt;/div&gt;
&lt;div&gt;court but not reasserted on appeal.&lt;span&gt;  &lt;/span&gt;&lt;span&gt;People v. McGee&lt;/span&gt;, (Colo. App. &lt;/div&gt;
&lt;div&gt;No. 18CA1396&lt;span&gt;, &lt;/span&gt;July 29, 2021) (not published pursuant to C.A.R.&lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;35(&lt;span&gt;e)) (&lt;span&gt;McGee II&lt;/span&gt;&lt;span&gt;).&lt;/span&gt;&lt;span&gt;  &lt;/span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 6&lt;span&gt; &lt;/span&gt;&lt;span&gt;In November 2019, the supreme court announced &lt;span&gt;Wells-Yates &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;v. People&lt;span&gt;, 2019 CO 90M, &lt;span&gt;Melton v. People&lt;/span&gt;, 2019 CO 89, and &lt;span&gt;People &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;v. McRae&lt;span&gt;, 2019 CO 91 (collectively, &lt;/span&gt;&lt;span&gt;Wells-Yates&lt;/span&gt;&lt;span&gt;), which clarified &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;1&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt; Though the postconviction &lt;span&gt;court didnât separately address the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;claim that McGeeâs sentence constituted cruel and unusual &lt;/div&gt;
&lt;div&gt;punishment, by finding the sentence proportional, it implicitly &lt;/div&gt;
&lt;div&gt;rejected th&lt;span&gt;at&lt;/span&gt; claim.   &lt;/div&gt;
&lt;/div&gt;
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&lt;div&gt; &lt;/div&gt;
&lt;div&gt;3 &lt;/div&gt;
&lt;div&gt;how courts should conduct proportionality reviews of habit&lt;span&gt;&lt;/span&gt;ual &lt;/div&gt;
&lt;div&gt;criminal sentences.&lt;span&gt;  &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 7&lt;span&gt; &lt;/span&gt;&lt;span&gt;More than three years later, McGee filed a second Rule 35(c) &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;motion&lt;span&gt;.  &lt;span&gt;In it&lt;/span&gt;, &lt;span&gt;McGee again requested a proportionality review&lt;/span&gt;, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;arguing, as material here, that &lt;span&gt;Wells-Yates&lt;/span&gt; established a new &lt;/div&gt;
&lt;div&gt;substantive rule of constitutional law that applied retroactively, and &lt;/div&gt;
&lt;div&gt;thus he was entitled to a new proportionality review.   &lt;/div&gt;
&lt;div&gt;Â¶ 8&lt;span&gt; &lt;/span&gt;&lt;span&gt;Concluding that&lt;span&gt; Wells-Yates&lt;/span&gt; &lt;span&gt;didnât create&lt;/span&gt; a new substantive &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;rule of constitutional law, the postconviction court denied &lt;span&gt;McGee&lt;span&gt;&lt;/span&gt;âs&lt;span&gt; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;motion as successive without appointing counsel or conducting a &lt;/div&gt;
&lt;div&gt;hearing&lt;span&gt;.  &lt;span&gt; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;II.&lt;span&gt; &lt;span&gt;Discussion &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 9&lt;span&gt; &lt;/span&gt;&lt;span&gt;McGee contends that the postconviction court erred by &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;denying his second Rule 35(c) motion as successive because &lt;span&gt;Wells-&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Yates&lt;span&gt; created a new rule of constitutional law that shoul&lt;span&gt;&lt;/span&gt;d be &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;retroactively applied to his request for a proportionality review.  &lt;/div&gt;
&lt;div&gt;Because we conclude that the motion is successive, we disagre&lt;span&gt;&lt;/span&gt;e.   &lt;/div&gt;
&lt;div&gt;Â¶ 10&lt;span&gt; &lt;/span&gt;&lt;span&gt;Rule 35(c) allows a defendant to challenge a judgment &lt;span&gt;&lt;/span&gt;of &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;conviction on the ground that it was obtained in violation &lt;span&gt;&lt;/span&gt;of his &lt;/div&gt;
&lt;div&gt;constitutional or statutory rights.  &lt;span&gt;See&lt;/span&gt; Crim. P. 35(c)(2)(I).  &lt;span&gt;&lt;/span&gt;But a &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
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&lt;div&gt; &lt;/div&gt;
&lt;div&gt;4 &lt;/div&gt;
&lt;div&gt;defendant is not entitled to perpetual review of his postconviction &lt;/div&gt;
&lt;div&gt;claims.  &lt;span&gt;People v. Rodriguez&lt;/span&gt;, 914 P.2d 230, 249 (Colo. &lt;span&gt;&lt;/span&gt;1996).  Thus, &lt;/div&gt;
&lt;div&gt;generally speaking, a postconviction court must summarily &lt;span&gt;&lt;/span&gt;deny &lt;/div&gt;
&lt;div&gt;any successive claim.  Crim. P. 35(c)(3)(VI)-(VII); &lt;span&gt;see also People v. &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Taylor&lt;span&gt;, 2018 COA 175, Â¶ 17 (explaining the language directing &lt;span&gt;&lt;/span&gt;a &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;court to deny successive postconviction claims is âmandat&lt;span&gt;&lt;/span&gt;ory rather &lt;/div&gt;
&lt;div&gt;than permissiveâ).&lt;span&gt;  &lt;/span&gt;A claim is successive if it either âwas raised and &lt;/div&gt;
&lt;div&gt;resolvedâ or âcould have been presentedâ in a previous appeal or &lt;/div&gt;
&lt;div&gt;postconviction proceeding&lt;span&gt;. &lt;/span&gt; Crim. P. 35(c)(3)(VI)&lt;span&gt;, &lt;/span&gt;(VII); &lt;span&gt;see Taylor&lt;/span&gt;&lt;span&gt;, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶Â¶&lt;span&gt; 9, 17.   &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 11&lt;span&gt; &lt;/span&gt;&lt;span&gt;An exception to the successiveness bar applies to claims base&lt;span&gt;&lt;/span&gt;d &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;on a new rule of constitutional law that was previously unavailabl&lt;span&gt;&lt;/span&gt;e &lt;/div&gt;
&lt;div&gt;if that rule should be applied retroactively.  &lt;span&gt;See&lt;/span&gt; Crim. P. &lt;/div&gt;
&lt;div&gt;35(c)(3)(VI)(b), (VII)(c) (outlining this exception).   &lt;/div&gt;
&lt;div&gt;Â¶ 12&lt;span&gt; &lt;/span&gt;&lt;span&gt;We review de novo whether a postconviction claim is &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;successive.  &lt;span&gt;Taylor&lt;/span&gt;&lt;span&gt;, Â¶&lt;/span&gt; 8.&lt;span&gt;  &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 13&lt;span&gt; &lt;/span&gt;&lt;span&gt;McGee first requested a proportionality review in 2014.  The &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;postconviction court conducted an abbreviated proporti&lt;span&gt;&lt;/span&gt;onality &lt;/div&gt;
&lt;div&gt;review and concluded that Mc&lt;span&gt;Geeâs sentence wasnât &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;disproportionate.  McGee didnât appeal that finding.  &lt;span&gt;See&lt;/span&gt;&lt;span&gt; &lt;span&gt;McGee II&lt;span&gt;&lt;/span&gt;&lt;span&gt;, &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
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&lt;div&gt;5 &lt;/div&gt;
&lt;div&gt;slip op. at Â¶ &lt;span&gt;39&lt;/span&gt;.  Thus, the proportionality claim was raised and &lt;/div&gt;
&lt;div&gt;resolved in 2014, which makes it successive&lt;span&gt;.  &lt;/span&gt;&lt;span&gt;See&lt;/span&gt; Crim. P. &lt;/div&gt;
&lt;div&gt;35(c)(3)(VI).&lt;span&gt;  &lt;span&gt; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 14&lt;span&gt; &lt;/span&gt;&lt;span&gt;Even so, McGee contends that his second request for a &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;proportionality review is excepted from the successiveness ba&lt;span&gt;&lt;/span&gt;r &lt;/div&gt;
&lt;div&gt;because &lt;span&gt;Wells-Yates&lt;/span&gt; announced a new rule of substantive &lt;/div&gt;
&lt;div&gt;constitutional law that applies retroactively to cases on coll&lt;span&gt;&lt;/span&gt;ateral &lt;/div&gt;
&lt;div&gt;review.  &lt;span&gt;See&lt;/span&gt; Crim. P. 35(c)(3)(VI)(b), (VII)(c).   &lt;/div&gt;
&lt;div&gt;Â¶ 15&lt;span&gt; &lt;/span&gt;&lt;span&gt;For the reasons explained in &lt;span&gt;People v. McDonald&lt;/span&gt;, 2023 COA 23 &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;(&lt;span&gt;cert. granted&lt;span&gt; Nov. 14, 2023), we disagree that &lt;/span&gt;&lt;span&gt;Wells-Yates&lt;/span&gt;&lt;span&gt; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;announced a new rule of substantive constitutional law t&lt;span&gt;&lt;/span&gt;hat applies &lt;/div&gt;
&lt;div&gt;retroactively.  Rather, as &lt;span&gt;McDonald&lt;/span&gt; explained, &lt;span&gt;Wells-Yates&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;announced a new procedural rule that doesnât apply retroa&lt;span&gt;&lt;/span&gt;ctively to &lt;/div&gt;
&lt;div&gt;final convictions.  &lt;span&gt;McDonald&lt;/span&gt;, Â¶Â¶ 2, 9, 13, 22-&lt;span&gt;24&lt;/span&gt;&lt;span&gt;; &lt;/span&gt;&lt;span&gt;see also Edwards &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;v. People&lt;span&gt;, 129 P.3d 977, 982 (Colo. 2006) &lt;span&gt;(â[N]ew constitutional &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;rules of criminal procedure do not apply retroactively t&lt;span&gt;&lt;/span&gt;o cases on &lt;/div&gt;
&lt;div&gt;collateral review.â).&lt;span&gt;  And while we &lt;/span&gt;arenât bound by&lt;span&gt; &lt;span&gt;McDonald&lt;/span&gt;&lt;span&gt;, &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;
&lt;a href="https://www.next.westlaw.com/link/document/FullText?rs=kmfh4.8.1&amp;amp;vr=2.0&amp;amp;kmvr=2.6&amp;amp;FindType=Y&amp;amp;pubNum=0004645&amp;amp;sernum=2008401730"&gt;&lt;div style="border-style:none;position:absolute;left:589.975556px;bottom:331.915556px;width:80.530000px;height:32.880000px;background-color:rgba(255,255,255,0.000001);"&gt;&lt;/div&gt;&lt;/a&gt;&lt;a href="https://www.next.westlaw.com/link/document/FullText?rs=kmfh4.8.1&amp;amp;vr=2.0&amp;amp;kmvr=2.6&amp;amp;FindType=Y&amp;amp;pubNum=0004645&amp;amp;sernum=2008401730"&gt;&lt;div style="border-style:none;position:absolute;left:89.125000px;bottom:289.902222px;width:286.170000px;height:32.880000px;background-color:rgba(255,255,255,0.000001);"&gt;&lt;/div&gt;&lt;/a&gt;
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&lt;img alt="" src="https://icbg.s3.amazonaws.com/media/MM9/Zgu/MM9ZguMTW/pwsU7Hj38Z0aT83wGmUtrM/47S7PRRijEBs%3D?AWSAccessKeyId=ASIA5PHC3MTPY7NUW62H&amp;amp;Expires=1728781377&amp;amp;Signature=DGCq9lE42OZM2Ye7bTOStrW1Mq4%3D&amp;amp;x-amz-security-token=IQoJb3JpZ2luX2VjEFgaCXVzLWVhc3QtMSJHMEUCIQDvNqY1mbH6gAKLosnmnl9XJKEZLFr%2BAsyw4jz1Rs4t4AIgKTJcIDLGXJAMuHt6XMkqSlQLMfidQkQE%2FAh6Lpupo%2BYquwUIsf%2F%2F%2F%2F%2F%2F%2F%2F%2F%2FARAAGgw5MjYwNDEyMDM5MzUiDCSmlodST2BTXs76TCqPBWRmLI3PwiskhQRB%2Ff8J494coDe2octHEA4TNCLlynuUvXLEMVBobzVIg0nHDfZlguNoyY%2Bc9dXvCXVvlJ%2BMUxpvmFNyMhtDeCYMQ9Y3eqzzrvGsA1MF53Z5%2FtElgt4nOo7pJ6f29zc7UTpOZcxdxKvJB%2FDDAci3UUzVQkeOGXDv4pAW9mpsgKwiQw9iLqb9N0z0CPHmMj2%2FMdFDLKPhuG1QSR1TlxLDjm1jo8HpfE%2BxDN65IYr8VvEaYEo36Du5VcEG8Z39aRiC%2FOWz0d0h6%2B9BHfUPMlk%2B9Psx6hbkpAnks4lRpMrw%2FvVsNortX%2BznA4gOl19tm3K9j7CyrVwpI0ynlt2oohJCGg94%2BQOnDeF5Be7fC9SbV4yOfUZSsdginkdPNr4Kb%2FeG9FtLkC%2FDAW4N4He9dTHiF5N7W8wTNxKqmJ3%2F2iU0KMwd%2Btz3fpQc6j69x2a8prs%2F8vL0wDQkC6b%2B5Luoac55%2BYL%2BY99XswGH9J40ATSy5bNmcDLeJAOnv%2BzVQICDyd%2FqCgZzSu0Vy9N01g8ygLziSHcEXbekx%2B4afGrregFAF5BdQmmrBamXZXyBH%2FwHs2SUNpe%2F%2FoBkUCfXuTA03kcuTvfnSMOiNdiHDa3avCo3xTnsfAlkDRNal660zcLMdkiJPnS31uAYCaf4jjknEL0fayEiaGREVC68%2Bj2ZPNspSJF7LJSr8VZXx6L4twegRerZgrPLTBDdV8EHRJhu86d41AwFcHxvN0PzjvymGGTmwjbIVtHATlwFp2npv%2Bm5W4vI%2Fec2Z8%2BNbsLy55jy%2FsTu02PGipdcolbPAGINDcWXis59mZuj6FdBsZ5Z1zCAep6U8rWCc5OVZFzlmkJ8x%2BeqVyw%2FGSJfjMUw%2BoysuAY6sQFYU4fLNl2nfAy6oQRPx%2Fd5BzpOO9KF2Bb3k3l8S8tVWCKdyPjs0UvLHippixJYg3HnTPxwastzELvNDQZg0Fs5Dw72P%2FXCDus%2B2G1oHtELhE1jTb7mpIiipez%2FaXF4giThnuW2DxYfGg409st%2BHsHSHadHkoDPhDgyrieJAItw2XvZBgGim3kM2p9K8kApjhPOrfnNaNNk3NiFpKqg9RkTKZIkbthE05sQNJ60IV5lLZM%3D"&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;6 &lt;/div&gt;
&lt;div&gt;Campbell v. People&lt;span&gt;, 2020 CO 49, Â¶ &lt;span&gt;41,&lt;/span&gt; we are persuade&lt;span&gt;&lt;/span&gt;d by &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;McDonald&lt;span&gt;âs &lt;span&gt;reasoning and follow it here.&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;2&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt;  &lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 16&lt;span&gt; &lt;/span&gt;&lt;span&gt;Thus, the postconviction court properly denied &lt;span&gt;McGeeâs&lt;/span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;second Rule 35(c) motion as successive.&lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;3&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt;  &lt;span&gt;See McDonald&lt;/span&gt;, Â¶Â¶ 8, 24.  &lt;/div&gt;
&lt;div&gt;Having so concluded, we &lt;span&gt;reject McGeeâs &lt;/span&gt;corresponding contention &lt;/div&gt;
&lt;div&gt;that he was entitled to postconviction counsel.  &lt;span&gt;See People v. &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Nozolino&lt;span&gt;, 2023 COA 39, Â¶ &lt;span&gt;34&lt;/span&gt; &lt;span&gt;(â&lt;/span&gt;[T]he statutory right to &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;postconviction counsel is triggered when the âmotionâ or âpetit&lt;span&gt;&lt;/span&gt;ionâ is &lt;/div&gt;
&lt;div&gt;not wholly unfounded.â).&lt;span&gt;   &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;2&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt; We decline McGee&lt;span&gt;âs request &lt;/span&gt;in his reply brief asking us to defer &lt;/div&gt;
&lt;div&gt;ruling on his appeal until our supreme court decides &lt;span&gt;People v. &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;McDonald&lt;span&gt;, 2023 COA 23 (&lt;span&gt;cert. granted&lt;/span&gt; Nov. 14, 2023).&lt;span&gt;  &lt;/span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;3&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt; &lt;span&gt;Because McGeeâs &lt;/span&gt;conviction was final in 2013, &lt;span&gt;see Hunsa&lt;span&gt;&lt;/span&gt;ker v. &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;People&lt;span&gt;, 2021 CO 83, Â¶ &lt;span&gt;36&lt;/span&gt;&lt;span&gt;, &lt;/span&gt;the most recent postconviction motion i&lt;span&gt;s &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;also untimely, as it was filed past the three-year deadline for su&lt;span&gt;&lt;/span&gt;ch &lt;/div&gt;
&lt;div&gt;motions.  &lt;span&gt;See&lt;/span&gt; Â§ 16-5-402(1), C.R.S. 2024 (collateral attacks to &lt;/div&gt;
&lt;div&gt;convictions for non-class 1 felonies must be filed within three yea&lt;span&gt;&lt;/span&gt;rs &lt;/div&gt;
&lt;div&gt;of the conviction).  And even assuming for argument&lt;span&gt;âs&lt;/span&gt; sake that we &lt;/div&gt;
&lt;div&gt;agreed with McGee that the 2019 decisions &lt;span&gt;â&lt;/span&gt; &lt;span&gt;Wells-Yates v. Pe&lt;span&gt;&lt;/span&gt;ople&lt;span&gt;, &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;2019 CO 90M, &lt;span&gt;Melton v. People&lt;/span&gt;, 2019 CO 89, and &lt;span&gt;People v. McRae&lt;/span&gt;&lt;span&gt;, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;2019 CO 91 &lt;span&gt;â&lt;/span&gt; created a new substantive rule of constitutional law &lt;/div&gt;
&lt;div&gt;that applied retroactively, McGee offers no reason why he wait&lt;span&gt;&lt;/span&gt;ed &lt;/div&gt;
&lt;div&gt;over four years after those decisions to file his most recent &lt;/div&gt;
&lt;div&gt;postconviction motion&lt;span&gt;. &lt;/span&gt; Having alleged no justifiable excuse or &lt;/div&gt;
&lt;div&gt;excusable neglect for the delay in seeking relief, the Rule 35(c) &lt;/div&gt;
&lt;div&gt;motion is time barred.   &lt;/div&gt;
&lt;/div&gt;
&lt;a href="#pf7" data-dest-detail='[7,"XYZ",69,351,null]'&gt;&lt;div style="border-style:none;position:absolute;left:441.868333px;bottom:835.973333px;width:10.080000px;height:32.880000px;background-color:rgba(255,255,255,0.000001);"&gt;&lt;/div&gt;&lt;/a&gt;&lt;a href="#pf7" data-dest-detail='[7,"XYZ",69,302,null]'&gt;&lt;div style="border-style:none;position:absolute;left:438.661111px;bottom:751.959444px;width:10.080000px;height:32.880000px;background-color:rgba(255,255,255,0.000001);"&gt;&lt;/div&gt;&lt;/a&gt;&lt;a href="https://www.next.westlaw.com/link/document/FullText?rs=kmfh4.8.1&amp;amp;vr=2.0&amp;amp;kmvr=2.6&amp;amp;FindType=Y&amp;amp;pubNum=0007780&amp;amp;sernum=2074586822"&gt;&lt;div style="border-style:none;position:absolute;left:543.477222px;bottom:667.945556px;width:116.920000px;height:32.880000px;background-color:rgba(255,255,255,0.000001);"&gt;&lt;/div&gt;&lt;/a&gt;&lt;a href="https://www.next.westlaw.com/link/document/FullText?rs=kmfh4.8.1&amp;amp;vr=2.0&amp;amp;kmvr=2.6&amp;amp;FindType=Y&amp;amp;pubNum=0007780&amp;amp;sernum=2074586822"&gt;&lt;div style="border-style:none;position:absolute;left:89.125000px;bottom:625.932222px;width:201.330000px;height:32.880000px;background-color:rgba(255,255,255,0.000001);"&gt;&lt;/div&gt;&lt;/a&gt;
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&lt;div&gt; &lt;/div&gt;
&lt;div&gt;7 &lt;/div&gt;
&lt;div&gt;Â¶ 17&lt;span&gt; &lt;/span&gt;&lt;span&gt;Finally, &lt;span&gt;we decline to address McGeeâs ineffective assistance of &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;appellate counsel claim first raised in his reply brief.  &lt;span&gt;See People v. &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Cline&lt;span&gt;, 2022 COA 135, Â¶ 75 n.3.  To the extent McGee conten&lt;span&gt;&lt;/span&gt;ds he &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;raised that claim in his Rule 35(c) motion, we &lt;span&gt;donât see it&lt;/span&gt;&lt;span&gt;.&lt;/span&gt;&lt;span&gt;  &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;III.&lt;span&gt; &lt;span&gt;Disposition &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 18&lt;span&gt; &lt;/span&gt;&lt;span&gt;The order is affirmed.&lt;span&gt;  &lt;/span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;JUDGE NAVARRO and JUDGE RICHMAN concur.&lt;span&gt;  &lt;/span&gt; &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
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